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                                        RETURN OF SERVICE
                                   UNITED STATES DISTRICT COURT
                                           District of Florida
   Case Number: 22CV14102-DMM
   Plaintiff: DONALD J. TRUMP, 45TH PRESIDENT OF THE UNITED
   STATES
   vs.
                                                                                                                 BII2022004357
   Defendant: HILLARY R. CLINTON, ET AL
   For: Peter Ticktin, Esq.
        The Ticktin Law Group
   Received by Burke Process Service on the 28th day of March, 2022 at 7:56 am to be served on ANDREW
   MCCABE,                                                                I, _____________
                                                                                 Sean
   _____________,
      Gordon        do  hereby  affirm that on the ______
                                                    5th   day of ___________,
                                                                    April     20___
                                                                                 22 at ___:____.m.,
                                                                                        2 06p
   executed service by delivering a true copy of the Summons in a Civil Action, Complaint for Damages and
   Demand for Jury Trial and Civil Cover Sheet in accordance with state statutes in the manner marked
   below:
   ( ) INDIVIDUAL SERVICE: Served the within-named person.

                                                     Barbara McCabe
   (X) SUBSTITUTE SERVICE: By serving __________________________________________________ as
               Wife of Andrew McCabe
   ______________________________________________________who   is over the age of 15.

   ( ) CORPORATE SERVICE: By serving __________________________________________________ as
   ______________________________________________________________________________.

   ( ) POSTED SERVICE: After attempting service on _____/_____ at ________ and on _____/_____ at
   ________ to a conspicuous place on the property described herein.

   ( ) NON SERVICE: For the reason detailed in the Comments below.

   MARITAL STATUS: ( X) YES ( ) NO ( ) REFUSED

   MILITARY STATUS: ( ) YES (X) NO ( ) REFUSED
   COMMENTS:




   Age 40-50
       ____ Sex M F Race Caucasian          5'9"
                         _________ Height _______ Weight 130-170         Black
                                                         _______ Hair __________ Glasses
   Y N
   Under penalties of perjury, I declare that I have read the foregoing Return of Service and the facts stated are
   true and correct. NO NOTARY REQUIRED PURSUANT TO F.S. 92.525 (2).



                                                                                                          N/A
                                                                             PROCESS SERVER # __________________
                                                                             Appointed in accordance with State Statutes

                                                                             Burke Process Service
                                                                             7200 W. Camino Real
                                                                             Suite 102
                                                                             Boca Raton, FL 33433
                                                                             (954) 514-0116

                                                                             Our Job Serial Number: 2022004357
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